 Case 1:22-mj-00022-JCN Document 20 Filed 02/21/22 Page 1 of 2                         PageID #: 30




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )       Criminal No. 1:22-mj-00022-JCN
                                                )
XAVIER PELKEY                                   )       FILED UNDER SEAL
                                                )


                     MOTION TO SEAL DECLARATION FOR 30 DAYS

        The United States of America, by and through its counsel, Darcie N. McElwee, United

States Attorney for the District of Maine, and Craig M. Wolff, Assistant United States Attorney,

respectfully moves that the Court seal the Declaration of FBI Special Agent Garrett E. Drew,

which the government intends to file as an exhibit at the defendant’s detention hearing. A copy

of the Declaration is attached as Exhibit 1. For the reasons stated below, the government requests

that the Declaration be sealed for 30 days, until March 24, 2022.

        As Special Agent Drew’s Declaration indicates, this case is part of an ongoing

investigation that spans several districts. Additional subjects are still being identified. If the

Declaration is immediately made public, it could jeopardize the ongoing investigation by causing

as-yet-unidentified subjects to destroy evidence or notify confederates. Although the information

in the Declaration may be discussed at the detention hearing, the government requests that the

Declaration itself be sealed for a period of 30 days following the hearing, until March 24.

        Counsel for the Defendant, Christopher K. MacLean, Esquire, has informed government

counsel that the defendant does not object to the government’s request.

        For the above reasons, the government requests that the Court seal the Declaration until

March 24, 2022.
Case 1:22-mj-00022-JCN Document 20 Filed 02/21/22 Page 2 of 2                PageID #: 31




     Dated at Portland, Maine this 21st day of February, 2022.

                                                 Respectfully submitted,

                                                 Darcie N. McElwee
                                                 United States Attorney




                                                 Craig M. Wolff
                                                 Assistant United States Attorney




                                             2
